Case 2:05-cV-02135-.]DB-tmp Document 9 Filed 06/07/05 Page 1 of 3 Page|D 12

IN THE UNITED sTATEs DISTRICT coURT F"-ED B‘;' __ no
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sHELBY CoUNTY HEALTH CARE ) W.D. op m M§§j,§,cr
CoRPoRATIoN d/b/a REGIONAL ) * * "“H'S
MEDICAL cENTER, )
)
Plaintiff, )
)
vs. ) No. 2;05¢v2135-B/P
)
LARRY E. YANDELL, PAM YANDELL )
and L.A. DARLING coMPANY, )
)
Defendants. )
sCHEoULING oRDER

 

This Scheduling Order was submitted by Teresa A. McCullough, counsel for Plaintiff,
and Cheryl Rumage Estes, John W. Guarisco, counsel for Defendant, L.A. Dariing Company.
Defendants, Larry E. Yandell and Pam Yandell have not appeared in this action. Plaintifi"s
counsel requested an extension of the Court’s recommended time frame in that Plaintift`s
counsel anticipates maternity leave in August and September of 2005.
lNlTIAL DlSCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a) (l): June 30, 2005
JOINING PARTIES: November 28, 2005
AMENDING PLEADINGS: November 28, 2005
INITIAL MOTIONS rl`O DISMISS: January of 2006
COMPLE'I`[NG ALL DISCOVERY: March 31, 2006

(a) DOCUMENT PRODUCTION: March 31, 2006

(b) DEPOS[TIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
March 31, 2006

(c) EXPERT WITNESS DlSCLOSURE (Rule 26):
(]) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT INFORMATION:

Ttu’s document entered on the docketsheet ln compliance
mm sole 53 and!or 79(a) FHCP on ' /C

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January 27, 2006

(2) DlSCLOSURE OF DEFENDANTS’ RULE 26 EXPERT
INFORMATION: February 24, 2006

(3) EXPERT WITNESS DEPOSITIONS: March 31 , 2006

FILlNG DlSPOSITIVE MOTIONS: April 28, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be liled and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objections shall be waived.

This case is set for non-jury trial and the trial is expected to last one (l) day. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

l'f IS SO ORDERED.

l

TU`M. PHAM
United States Magistrate Judge

DATE: flow ’\ l‘ ’l/QO§

UNITED STATES DISTRICT= COURT- WESTERNDISTRICT OF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02135 was distributed by fax, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

